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                      Exhibit 4
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                                            EXHIBIT 4

                       In re Baxter International Inc. Securities Litigation,
                               Case No. 1:19-cv-07786 (N.D. Ill.)


                             SUMMARY OF LEAD COUNSEL’S
                               LODESTAR AND EXPENSES


Exh.                FIRM                    HOURS           LODESTAR            EXPENSES
 3A     Bernstein Litowitz Berger &         1,742.75          $1,155,162.50        $42,921.67
          Grossmann LLP
3B      Kessler Topaz Meltxer &             2,189.10           $1,147,332.00       $53,616.70
          Check, LLP

                          TOTAL:            3,931.85           $2,302,494.50       $96,538.37
